Case 1:04-cv-10981-PBS Document 1687-2 Filed 03/02/09 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Inre: NEURONTIN MARKETING, SALES MDL Docket No. 1629
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION Master File No. 04-10981

 

Judge Patti B. Saris
THIS DOCUMENT RELATES TO: Mag. Judge Leo T. Sorokin

ALL CLASS ACTIONS

 

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, d/b/a BLUECROSS/BLUESHIELD OF
LOUISIANA; UNION OF OPERATING
ENGINEERS, LOCAL NO. 68 WELFARE FUND;
ASEA/AFSCME LOCAL 52 HEALTH BENEFITS
TRUST; GERALD SMITH; and LORRAINE

KOPA, on behalf of themselves and all others
similarly situated,

Plaintiffs,
Vv.

PFIZER INC. and WARNER-LAMBERT
COMPANY,
Defendants.

 

 

 

ORDER GRANTING COORDINATED PLAINTIFFS’ MOTION TO JOIN THE CLASS
PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF CLASS PLAINTIFFS’
EMERGENCY MOTION FOR EXTENSION OF TIME TO DESIGNATE DOCUMENTS
FOR SUMMARY JUDGMENT AND TRIAL

Coordinated Plaintiffs, having filed a Motion to Join the Class Plaintiffs’ Reply Memorandum in

Support of Class Plaintiffs’ Emergency Motion for Extension of Time to Designate Documents for
Case 1:04-cv-10981-PBS Document 1687-2 Filed 03/02/09 Page 2 of 2

Summary Judgment and Trial, and the Court, being duly advised, GRANTS said motion and ORDERS that

Coordinated Plaintiffs are joined to the Class Plaintiffs’ Reply Memorandum.

Entered this day of , 2009.

 

Honorable Judge Patti B. Saris
United States District Court Judge
